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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

PAUL KRASK,                                        )
                                                   )
                         Plaintiff,                )
                                                   )
               -vs-                                ) Case No.: 2:20-cv-00087-JTM-JPK
                                                   )
CINTAS CORPORATE SERVICES, INC., et al.,           )
                                                   )
                         Defendants.               )

                      STIPULATION OF DISMISSAL WITH PREJUDICE

        COME NOW the parties, by their respective counsel, pursuant to Rule 41 of the Federal

Rules of Civil Procedure, and hereby stipulated to dismissal of this matter in its entirety with

prejudice.


/s/ Roberto A. Mendoza                      /s/ John W. Potter
________________________                    ___________________________________
                                            (With Permission Via E-mail on June 1, 2021)
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/s/ Daniel M. Noland                        /s/ Scott B. Cockrum
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that he caused a copy of the foregoing document to be served

on all counsel of record by filing the foregoing document via this Court’s CM/ECF system on

June 7, 2021.


                                                   /s/ Roberto A. Mendoza ___
                                                   Attorney for Plaintiff
